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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


ELI LILLY AND COMPANY, et al.,

      Plaintiffs,

      v.                                              Case No. 24-CV-3220 (DLF)

ROBERT F. KENNEDY, JR., et al.,

      Defendants.


BRISTOL MYERS SQUIBB COMPANY,

      Plaintiff,

v.                                                    Case No. 24-CV-3337 (DLF)

ROBERT F. KENNEDY, JR., et al.,

      Defendants.


NOVARTIS PHARMACEUTICALS
CORPORATION,

      Plaintiff,
                                                      Case No. 25-CV-0117 (DLF)
v.

ROBERT F. KENNEDY, JR., et al.,

      Defendants.


  UNOPPOSED MOTION OF AMERICAN HOSPITAL ASSOCIATION, NATIONAL
ASSOCIATION OF CHILDREN’S HOSPITALS, INC., D/B/A CHILDREN’S HOSPITAL
   ASSOCIATION, ASSOCIATION OF AMERICAN MEDICAL COLLEGES AND
AMERICA’S ESSENTIAL HOSPITALS TO FILE AMICI CURIAE BRIEF IN SUPPORT
                          OF DEFENDANTS
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       The American Hospital Association, the National Association of Children’s Hospitals, Inc.,

d/b/a Children’s Hospital Association, the Association of American Medical Colleges, and

America’s Essential Hospitals (collectively, the Proposed Amici) respectfully move this Court,

pursuant to Local Civil Rule 7(o), for leave to file the attached brief in support of Defendants

(Exhibit A). Proposed Amici also submit a Proposed Order.

       Amici are four hospital associations whose members are hospitals that receive 340B

discounts. Eli Lilly’s, Bristol Myers Squibbs’, and Novartis’ unlawful rebate policies will

grievously harm those hospitals and the patients they care for. Amici therefore have a strong

interest in preserving the Health Resources and Services Administration’s lawful decision to reject

that rebate policy, so that Amici’s members can continue to provide high-quality, affordable

medical care to their underserved patients and communities.

       “Courts have wide discretion in deciding whether to grant a third party leave to file an

amicus brief.” Matter of Search of Information Associated with [redacted]@mac.com that is

Stored at Premises Controlled by Apple, Inc., 13 F. Supp. 3d 157, 167 (D.D.C. 2014). “Generally,

a court may grant leave to appear as an amicus if the information offered is timely and useful,”

Ellsworth Assocs. v. United States, 917 F. Supp. 841, 846 (D.D.C. 1996) (quotation marks

omitted), or when Amici have “relevant expertise and a stated concern for the issues at stake in

[the] case,” District of Columbia v. Potomac Elec. Power Co., 826 F. Supp. 2d 227, 237 (D.D.C.

2011); see Ellsworth, 917 F. Supp. at 846 (a court should grant a motion to participate as amicus

curiae when the movant has a “special interest in th[e] litigation as well as a familiarity and

knowledge of the issues raised therein that could aid in the resolution of this case”); Northern

Mariana Islands v. United States, No. 08-1572, 2009 WL 596986, at *1 (D.D.C. Mar. 6, 2009)

(holding that “the filing of an amicus brief should be permitted if it will assist the judge ‘by



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presenting ideas, arguments, theories, insights, facts or data that are not to be found in the parties’

briefs”).

        Amici easily satisfy this standard. As the attached proposed brief demonstrates, Amici

provide the Court with specific insights, information, and legal arguments about the operation of

the 340B Program and the consequences of the drug companies’ rebate policies. Amici further

demonstrate that if the Court were to grant Plaintiffs’ motion for summary judgment, their

member-hospitals would be severely harmed, thereby underscoring their “concern for the issues

at stake,” Potomac Elec., 826 F. Supp. 2d at 237, and “special interest” in the litigation, Ellsworth,

917 F. Supp. at 846.

        This Court has recognized Movants’ value as Amici in the past. Specifically, it granted a

similar motion in Novartis Pharms. Corp. v. Espinosa, No. 21-cv-1479, 2021 WL 5161783

(D.D.C. Nov. 5, 2021). See Minute Order (June 29, 2021).

        Proposed Amici consulted with counsel for Plaintiffs and Defendants. Eli Lilly, Bristol

Myers Squibb, and Novartis consent to the Motion. The government takes no position.

        Accordingly, Proposed Amici respectfully ask the Court to grant their motion to file an

amici curiae brief.

March 4, 2025                                         Respectfully submitted,


                                                             /s/
                                                      Chad Golder, Fed. Bar No. 976914
                                                      American Hospital Association
                                                      2 City Center, Suite 400
                                                      800 10th Street, NW
                                                      Washington, DC 20001-4956
                                                      202-626-4624
                                                      cgolder@aha.org
                                                      Counsel for Amici Curiae




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